      Case 1:19-cv-00253-JEJ Document 121 Filed 04/05/19 Page 1 of 14



              IN THE UNITED STATES DISTRICT COURT
          FOR THE MIDDLE DISTRICT OF PENNSYLVANIA
____________________________________
F. FREDERIC FOUAD,                  :
                 Plaintiff,         :  No. 1:19-cv-00253-JEJ
           v.                       :
THE MILTON HERSHEY SCHOOL AND :
SCHOOL TRUST, ELLIOTT               :
GREENLEAF, P.C., PETER GURT,        :  (JONES III, J.)
RALPH CARFAGNO, ROBERT HEIST, :
VELMA REDMOND, DAVID                :
SALTZMAN, JAMES C. KATZMAN,         :
JAMES W. BROWN, M. DIANE KOKEN, :
JAMES M. MEAD, MELISSA L.           :
PEEPLES-FULLMORE, JAN LOEFFLER- :
BERGEN, ANDREW S. CLINE, AND        :
JARAD W. HANDELMAN,                 :
                 Defendants.        :

       DEFENDANTS ROBERT HEIST, VELMA REDMOND,
            DAVID SALTZMAN, JAMES C. KATZMAN,
     JAMES W. BROWN, M. DIANE KOKEN, JAMES M. MEAD,
 MELISSA L. PEEPLES-FULLMORE, AND JAN LOEFFLER BERGEN’S
       BRIEF IN SUPPORT OF THEIR MOTION TO STRIKE
        Case 1:19-cv-00253-JEJ Document 121 Filed 04/05/19 Page 2 of 14



                                             TABLE OF CONTENTS
I.     INTRODUCTION. .......................................................................................... 1
II.    QUESTION INVOLVED................................................................................ 2

III.   THE COMPLAINT CONTAINS NUMEROUS IRRELEVANT,
       SCANDALOUS, AND IMMATERIAL ALLEGATIONS AND
       EXHIBITS. ...................................................................................................... 2

IV.    THE COURT SHOULD STRIKE THE ALLEGATIONS AND
       EXHIBITS UNDER FEDERAL RULES 12(f) AND 8.................................. 4
       A.       The Court should strike various allegations and exhibits as
                immaterial, scandalous, and impertinent............................................... 4

       B.       The Complaint is not a short and plain statement of Plaintiff’s
                claims. .................................................................................................... 7

V.     CONCLUSION................................................................................................ 8




                                                            i
           Case 1:19-cv-00253-JEJ Document 121 Filed 04/05/19 Page 3 of 14



                                        TABLE OF AUTHORITIES

                                                                                                                   Page(s)
Cases
Binsack v. Lackwanna Cnty.,
   438 F. App’x 158 (3d Cir. 2011) ...................................................................... 7, 8

Carone v. Whalen,
  121 F.R.D. 231 (M.D. Pa. 1988) .......................................................................... 5

Crimone v. McCabe Weisberg & Conway, P.C.,
   737 F. App’x 107 (3d Cir. 2018) .......................................................................... 5

In re Milton Hershey School,
   No. 712 .................................................................................................................. 8
Sinclair Cattle Co. v. Ward,
   No. 1:14-CV-1144, 2015 WL 6125260 (M.D. Pa. Oct. 15, 2015) ....................... 5
Wagner v. Holtzapple,
  101 F. Supp. 3d 462 (M.D. Pa. 2015) ................................................................... 5
Yori v. Domitrovich,
   654 F. App’x 52 (3d Cir. 2016) ............................................................................ 7

Other Authorities
Fed. R. Civ. P. 8 .............................................................................................1, 2, 4, 7
Fed. R. Civ. P. 12(f) .......................................................................................1, 2, 4, 7




                                                              ii
       Case 1:19-cv-00253-JEJ Document 121 Filed 04/05/19 Page 4 of 14




I.    INTRODUCTION.
      Defendants Robert Heist, Velma Redmond, David Saltzman, James C.

Katzman, James W. Brown, M. Diane Koken, James M. Mead, Melissa L. Peeples-

Fullmore, and Jan Loeffler Bergen, all of whom are or were members of the Board

of Managers of the Milton Hershey School and the Board of Directors of the

Hershey Trust Company (collectively, the “Board Defendants”), submit this

memorandum in support of their Motion to Strike certain portions of Plaintiff’s

Complaint pursuant to Federal Rules of Civil Procedure 12(f) and 8 as imprecise,

immaterial, impertinent, and scandalous (Doc. No. 103).1

      Relatively few of the paragraphs in Plaintiff’s 496-paragraph Complaint

have anything to do with the claims he is attempting to assert. The only claims

asserted against the Board Defendants and related parties the Milton Hershey

School, Peter Gurt, Andrew Cline, and Ralph Carfagno (the “MHS Defendants”)

are for: prima facie tort (Count One), a claim not recognized under Pennsylvania

law; abuse of subpoena and abuse of process (Count Two); breach of the covenant

of good faith and fair dealing (Count Three); “outrageous conduct” causing

emotional distress (Count Four); and civil conspiracy (Count Five).           The

Complaint however, contains numerous and irrelevant personal attacks against the

1
 Attached as Exhibit 1 is a copy of the Complaint, with a line drawn through those
portions that the Board Defendants request to be stricken.

                                        1
       Case 1:19-cv-00253-JEJ Document 121 Filed 04/05/19 Page 5 of 14



Board Defendants and the MHS Defendants and their governance of the Milton

Hershey School. These allegations are immaterial to Plaintiff’s claims and appear

to be just another chapter in Plaintiff’s long-running campaign to “reform” the

Milton Hershey School through twenty years of serial litigation.

      Accordingly, the Court should strike the allegations and exhibits identified

in Exhibit 1 from the Complaint under Rule 12(f), as irrelevant, immaterial, and

scandalous.    Alternatively, the Court should strike those allegations for

noncompliance with Rule 8, which requires pleadings to contain concise

statements of the claims asserted and requires allegations to be simple, concise,

and direct.

II.   QUESTIONS INVOLVED.
1.    Should the scandalous, impertinent, immaterial, and redundant portions of

Plaintiff’s 100-page, 496-paragraph Complaint be stricken under Fed. R. Civ. P.

12(f) and for failure to comply with the requirement of Fed. R. Civ. P. 8 for a

“short and plain statement” of the claims?

      SUGGESTED ANSWER: YES

III. THE COMPLAINT CONTAINS NUMEROUS IRRELEVANT,
SCANDALOUS, AND IMMATERIAL ALLEGATIONS AND EXHIBITS.
      The Complaint contains a meandering 496 paragraphs, virtually none of

which have anything to do with the claims asserted. This is clear as early as the

first paragraph of the Complaint, which alleges the Milton Hershey School is a

                                        -2-
       Case 1:19-cv-00253-JEJ Document 121 Filed 04/05/19 Page 6 of 14



“scandal-ridden $14 billion child welfare charity” commandeered into a “vehicle

of profiteering” by the various Defendants. (Compl. ¶ 1.) The Complaint goes on

to allege numerous irrelevant and completely false personal attacks against

Defendants.      (See, e.g., Compl. ¶¶ 11, 70, 113, 155, 191, 202-03, 350-53.)

Moreover, several paragraphs in the Complaint speculate about the amounts that

Defendant Elliott Greenleaf, P.C. billed the Milton Hershey School for legal

services. (Compl. ¶¶ 181-182, 270-273.) Just like the irrelevant and false personal

attacks, this speculation has zero connection to Plaintiff’s claims against the Board

Defendants and the MHS Defendants.

      Further, while Plaintiff sees himself as a crusader on behalf of Milton

Hershey School students, he attacks them and their family members throughout the

Complaint. Plaintiff disparages one former student whose deposition testimony

was damaging to Plaintiff for “bounc[ing] from school-to-school” and “fail[ing] to

get beyond the ninth grade.” (Compl. ¶ 285.) Plaintiff then labels the student

“deeply troubled” in part because his mother “served a prison term.” (Compl. ¶¶

58, 285, 288.)

      These rambling allegations, coupled with certain exhibits to the Complaint,

are unrelated to Plaintiff’s claims. Plaintiff also ignores that the vast majority of

the Board Defendants and MHS Defendants he has chosen to name were appointed

to or obtained their positions only recently, some as late as 2017, and all of them

                                         -3-
         Case 1:19-cv-00253-JEJ Document 121 Filed 04/05/19 Page 7 of 14



after 1999. (See Compl. ¶¶ 41-50, 207.) Thus, said Defendants could not have

participated in any alleged campaign against Plaintiff that supposedly began in

1999.

        Taken as a whole, the allegations and exhibits reveal what this action really

is: an expression of Plaintiff’s personal vendetta against the Milton Hershey School

and those charged with running it, which has spurred twenty years of litigation by

Plaintiff against the School.     Indeed, the gravamen of the Complaint is that

Plaintiff’s perceived “reform efforts” have been rebuffed. (See, e.g., Compl. ¶¶ 87,

102, 135, 145, 151, 152, 162, 163, 164, 165, 166, 169, 173, 176, 177, 179.) As

explained below, the Court should strike these allegations and exhibits.

IV. THE COURT SHOULD STRIKE THE ALLEGATIONS AND
EXHIBITS UNDER FEDERAL RULES 12(f) AND 8.
        The Court should strike the identified allegations and exhibits as set forth in

Exhibit 1 for two reasons.       First, the Complaint is replete with “immaterial,

scandalous, and impertinent” allegations wholly unrelated to Plaintiff’s claims, and

should be stricken under Rule 12(f). Second, the Complaint is the antithesis of

Rule 8’s mandate for pleadings to be “simple, concise, and direct.”

        A.  The Court should strike various allegations and exhibits as
        immaterial, scandalous, and impertinent.
        A court may strike from a pleading any matter that is “immaterial,

scandalous, or impertinent” under Federal Rule 12(f). Matter is “immaterial” if it


                                          -4-
       Case 1:19-cv-00253-JEJ Document 121 Filed 04/05/19 Page 8 of 14



has “no essential or important relationship to the claim for relief.” Wagner v.

Holtzapple, 101 F. Supp. 3d 462, 488 (M.D. Pa. 2015). “Impertinent” matter is

that which does not pertain, and is unnecessary, to the issues in the complaint. Id.;

see Crimone v. McCabe Weisberg & Conway, P.C., 737 F. App’x 107, 111 (3d

Cir. 2018) (affirming court’s decision to strike “various matters of religion and

corruption by state and federal courts” finding them “at best ‘immaterial’ to the

plaintiff’s claims).   Matter is “scandalous” if it “casts a derogatory light on

someone, uses repulsive language, or detracts from the dignity of the court.”

Wagner, 101 F. Supp. 3d at 488. Courts have “considerable discretion” to grant a

Rule 12(f) motion to strike. Sinclair Cattle Co. v. Ward, No. 1:14-CV-1144, 2015

WL 6125260, at *1 (M.D. Pa. Oct. 15, 2015).

      In Wagner, this Court applied these principles to strike various allegations

from the plaintiff’s complaint as scandalous, immaterial, and impertinent, both at

the defendant’s request and on its own accord. Id. at 488-90. The allegations

stricken included: (1) complaints that the defendant’s counsel referred to the action

as a “stupid threatened case”; (2) irrelevant, argumentative statements about

warrantless searches of dormitories; and (3) references to “criminal wrongdoing”

by the defendant. Id. at 488-89; see also Carone v. Whalen, 121 F.R.D. 231 (M.D.

Pa. 1988) (striking complaint in its entirety based on its “overall malicious tenor,”




                                         -5-
       Case 1:19-cv-00253-JEJ Document 121 Filed 04/05/19 Page 9 of 14



the plaintiff’s “vengeful and vindictive temperament,” “disrespect and nefarious

conduct,” and personal attacks on the prosecuting attorney).

      As explained above, the Complaint is a messy, long-winded diatribe

complaining about decades-old conduct, containing little if any relevance to the

Board Defendants, the MHS Defendants, or the claims asserted.                All of the

identified allegations and exhibits may be stricken as immaterial, impertinent, and

scandalous, as the bulk of the Complaint has no conceivable connection to

Plaintiff’s attempt to assert claims for prima facie tort, abuse of subpoena and

abuse of process, breach of the covenant of good faith and fair dealing,

“outrageous conduct” causing emotional distress, and civil conspiracy. This is

especially true given the fact that the majority, if not all, of the Board Defendants

and the MHS Defendants did not hold their current positions, or any positions at

all, when much of the alleged conduct is purported to have occurred. In fact, as

Plaintiff has admitted, most of the Board Defendants were appointed to their

positions beginning in 2014. (See Compl. ¶¶ 41-50.)

      Further, the contents of the Complaint are prejudicial to the Board

Defendants and the MHS Defendants in multiple ways.                   For example, the

completely   irrelevant   and   false   personal   attacks     have     self-explanatory

consequences for the Defendants whose names are associated with them. It also




                                         -6-
      Case 1:19-cv-00253-JEJ Document 121 Filed 04/05/19 Page 10 of 14



highlights the malicious nature of the Complaint, as these allegations have no

conceivable connection to Plaintiff’s claims.

      B.    The Complaint is not a short and plain statement of Plaintiff’s
      claims.
      Federal Rule of Civil Procedure 8(a)(2) requires a “short and plain statement

of the claim showing that the pleader is entitled to relief.” And Rule 8(d)(1)

requires allegations to be simple, concise and direct. “‘Taken together, Rules 8(a)

and 8(d)(1) underscore the emphasis placed on clarity and brevity by the federal

pleading rules.” Binsack v. Lackwanna Cnty., 438 F. App’x 158, 160 (3d Cir.

2011) (quotation marks and citation omitted). A complaint which violates Rule 8

may be dismissed. Yori v. Domitrovich, 654 F. App’x 52, 54 (3d Cir. 2016)

(dismissing complaint containing “broad and vague claims”); see also Binsack, 438

F. App’x at 160 (dismissing “excessively voluminous and unfocused” complaint

under Rule 8).

      In addition to striking portions of the Complaint under Rule 12(f), the Court

may also strike those portions because of the Complaint’s noncompliance with

Rule 8. Plaintiff’s Complaint could not stray further from the federal pleading

requirements. It asserts irrelevant personal attacks against parties and non-parties

alike, much of which describe decades-old conduct by individuals who are not

named as parties to the Complaint. The bulk of the allegations have nothing to do

with the claims Plaintiff asserts. This is precisely the sort of “voluminous and

                                        -7-
       Case 1:19-cv-00253-JEJ Document 121 Filed 04/05/19 Page 11 of 14



unfocused” pleading that should be dismissed under Rule 8. See Binsack, 438 F.

App’x at 160.

      Indeed, Plaintiff previously has been criticized for similar problems with his

legal filings. For instance, in a case where Plaintiff acted as counsel to the Milton

Hershey School Alumni Association (“MHSAA”), the Orphans’ Court of Common

Pleas of Dauphin County stated in 2003:

             The Petition filed by the [MHSAA] has 68 pages and
             contains 253 paragraphs. It is less a pleading than a
             diatribe deploring the manner in which the former
             Trustees/Managers, exercising their discretion, have
             handled Trust real estate and School management. It
             impugns the integrity of the Attorney General and
             insultingly disparages the new Board.
In re Milton Hershey School, No. 712, Year of 1963, at 10 (Dauphin Cnty. Ct.

Com. Pl., Orph. Ct. Div., Nov. 19, 2003) (attached hereto as Exhibit 2). Plaintiff

should not be permitted to repeat his behavior in this lawsuit.

V.    CONCLUSION.
      For the reasons set forth above and as detailed in Exhibit 1, the Court should

strike the portions of the Complaint that are scandalous, irrelevant, and immaterial

to Plaintiff’s claims and flout the requirement that a Complaint contain a short and

plain statement of the claims.




                                         -8-
      Case 1:19-cv-00253-JEJ Document 121 Filed 04/05/19 Page 12 of 14



                                   Respectfully submitted,


                                   SAUL EWING ARNSTEIN & LEHR
                                   LLP

                                   s/ Alexander R. Bilus
                                   James A. Keller, Esq.
                                   Alexander R. Bilus, Esq.
                                   Centre Square West
                                   1500 Market Street, 38th Floor
                                   Philadelphia, PA 19102-2186
                                   (215) 972-4000
                                   James.Keller@saul.com
                                   Alexander.Bilus@saul.com

                                   Andrew S. Gordon, Esq.
                                   Penn National Insurance Plaza
                                   2 North Second Street, 7th Floor
                                   Harrisburg, PA 17101-1619
                                   (717) 257-7579
                                   Andrew.Gordon@saul.com

                                   Colleen Fox, Esq.
                                   650 College Road East, Suite 4000
                                   Princeton, New Jersey 08540
                                   (609) 452-3145
                                   colleen.fox@saul.com

                                   Attorneys for Defendants Robert Heist,
                                   Velma Redmond, David Saltzman, James C.
                                   Katzman, James W. Brown, M. Diane
                                   Koken, James M. Mead, Melissa L. Peeples-
                                   Fullmore, and Jan Loeffler Bergen

Date: April 5, 2019




                                    -9-
      Case 1:19-cv-00253-JEJ Document 121 Filed 04/05/19 Page 13 of 14



                       CERTIFICATE OF WORD COUNT

      I certify that the word count of the foregoing brief as determined by

Microsoft Word is 1,752.


                                   /s/ Alexander R. Bilus
                                   ALEXANDER R. BILUS

Dated: April 5, 2019
      Case 1:19-cv-00253-JEJ Document 121 Filed 04/05/19 Page 14 of 14



                         CERTIFICATE OF SERVICE

      I, Alexander R. Bilus, Esquire, hereby certify that I caused the foregoing to

be filed electronically filed with the Court, where it is available for viewing and

downloading from the Court’s ECF system, and that such electronic filing

automatically generates a Notice of Electronic Filing constituting service of the

filed document upon Plaintiff and all counsel of record.



                                                   /s/ Alexander R. Bilus
                                                   ALEXANDER R. BILUS

Dated: April 5, 2019
